Case 2:16-cr-00217-MCE Document 13 Filed 10/21/16 Page 1 of 4

UNITED STATES DISTRICT COURT FILED
EASTERN DISTRICT OF CALIFORNIA
October 21, 2016

CLERK, US DSITRICT COURT
EASTERN DISTRICT OF
CALIFORNIA

 

 

 

 

UNITED STATES OF AMERICA, CASE NUMBER: 2:16-mj-00187-01 KJN
Plaintiff,
V.
NOTICE TO DEFENDANT
SATISH KARTAN, BEING RELEASED
Defendant.

 

A. You are advised that you are being released pursuant to the “Bail Reform Act of 1984".

B. Conditions of Release
You are further advised that your release is subject to the following conditions in addition to any
conditions contained in your Bond form:

1.

4.
5. Other Special Conditions: (See Attached)

That you shall appear on time at all proceedings as required and shall surrender for service of
any sentence imposed as directed.

2. That you shall advise the court and your attorney prior to any change in address.
3.

That you shall not commit any offense in violation of federal, state or local law while on release
in this case.
Travel Restrictions: Click here to enter text.

C. Advice of Penalties and Sanctions
You are further advised that:

1.

It is a criminal offense under Title 18 U.S.C. §3146, if, after having been released, the defendant
knowingly fails to appear as required by the conditions of release or to surrender for the service
of sentence pursuant to a court order. If the defendant was released in connection with a
charge, or while awaiting sentence, surrender for the service of a sentence, or appeal or
certiorari after conviction, for -

a. an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years
or more, the defendant shall be fined not more than $250,000 or imprisoned for not more
than ten years or both;

b. an offense punishable by irnprisonment for a term of five years or more, but less than fifteen
years, the defendant shall be fined not more than $250,000 or imprisoned for not more than
five years or both;

c. any other felony, the defendant shall be fined not more than $250,000 or imprisoned not
more than two years or both; or

d. a misdemeanor, the defendant shall be fined not more than $2,000 or imprisoned not more
than one year, or both. If punishable by more than 6 months, the fine is not more than
$100,000.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the

sentence of imprisonment for any other offense. In addition, failure to appear may result in the

forfeiture of any bail.
Case 2:16-cr-00217-MCE Document 13 Filed 10/21/16 Page 2 of 4

2. Conviction of an Offense Committed While on Release
Conviction of an offense committed while on release carries the following sentences which are in
addition to the sentence prescribed for the offense and which must be consecutive to any other
sentence:
a. Not more than 10 years if the offense is a felony.
b. Not more than one year if the offense is a misdemeanor.
3. Violation of Conditions of Release
Violation of any condition of your release may also result in arrest by a law enforcement officer
and the immediate issuance of a warrant for your arrest, revocation of release and order of
detention, and a prosecution for contempt which could result in a possible term of imprisonment
and/or a fine.
4. Obstruction of Justice Crimes
It is an additional crime to:
a. Endeavor by force or threat to influence, intimidate or impede a juror, officer of the court, or
the administration of justice (Title 18 U.S.C. §1503) Penalty: 5 years and/or $250,000.00
b. Endeavor to obstruct, delay or prevent a criminal investigation (Title 18 U.S.C. §1510)
Penalty: 5 years and/or $250,000.00.
c. Tamper with a witness, victim or informant (Title 18 U.S.C. §1512) Penalty: 10 years and/or

$250,000.00.

d. Harass a witness, victim or informant (Title 18 U.S.C. §1512) Penalty: 1 year and/or
$100,000.00

e. Retaliate against a witness, victim or informant (Title 18 U.S.C. §1513) Penalty: 10 years
and/or $250,000.00.

ACKNOWLEDGMENT OF DEFENDANT

| acknowledge that | am the defendant in the above-captioned case and that | am aware of and fully
understand the above conditions of release. | promise to obey all conditions of release, to appear as
directed, and to surrender for service of any sentence imposed. | am also aware of and fully
understand the penalties and sanctions set forth above for failure to appear, conviction of an offense
committed while on release, violation of a condition of release, or any of the obstruction of justice
crimes.

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DEPENDANT SIGNATURE

 

(IF AN INTERPRETER IS USED)

| have translated the above conditions of release and Advice to Defendant and have been told by the
defendant that he / she understands the conditions of release and advice.

 

INTERPRETER SIGNATURE
Case 2:16-cr-00217-MCE Document 13 Filed 10/21/16 Page 3 of 4

SPECIAL CONDITIONS OF RELEASE

Re: Kartan, Satish
No.: 2:16-MJ-00187-KJN
Date:October 21, 2016

1. You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

You shall report in person to the Pretrial Services Agency on the first working day following
your release from custody;

You are to reside at a location approved by the pretrial services officer and not move or absent
yourself from this residence for more than 24 hours without the prior approval of the pretrial
services officer;

You shall cooperate in the collection of a DNA sample;

5. Your travel is restricted to Eastern District of California unless otherwise approved in advance

10.

11.

12.

13.

by the pretrial services officer;

You shall surrender all passports, whether valid or expired, to the Clerk, U. 8. District Court, and
obtain no passport during the pendency of this case;

You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon;
additionally, you shall provide written proof of divestment of all firearms/ammunition currently
under your control;

You shall seek and/or maintain employment and provide proof of same as requested by your
pretrial services officer;

The defendant shall not directly or indirectly recruit, solicit, hire, employ, or otherwise seek the
paid or volunteer labor or services of another person who is not a relative by blood, for the
purpose of providing domestic labor or services of any kind (e.g., housework, cleaning, cooking)
or in-home child care services of any kind (e.g., daycare, nanny services).

The defendant shall not directly or indirectly contact or attempt to contact by any means (¢.g.,
telephone, text message, WhatsApp chat, online post, social media post or messaging) any
person who formerly provided domestic labor or services of any kind or in-home child care
services for either or both of the defendants.

You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial
Services immediately of any prescribed medication(s). However, medicinal marijuana,
prescribed or not, may not be used; and

You shall report any contact with law enforcement to your pretrial services officer within 24
hours.

You shall participate in the following location monitoring program component and abide by all
the requirements of the program, which will include having a location monitoring unit installed
in your residence and a radio frequency transmitter device attached to your person. You shall
comply with all instructions for the use and operation of said devices as given to you by the
Pretrial Services Agency and employees of the monitoring company. You shall pay all or part of
Case 2:16-cr-00217-MCE Document 13 Filed 10/21/16 Page 4 of 4

the costs of the program based upon your ability to pay, as determined by the pretrial services
officer;

14. CURFEW: You shall remain inside your residence every day from 8:00 PM to 8:00 AM, or as

adjusted by the pretrial services officer for medical, religious services, employment or court-
ordered obligations.
